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6                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
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                        SAN FRANCISCO-OAKLAND DIVISION
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     AMERICAN CIVIL LIBERTIES
10   UNION FOUNDATION, et al.,                 Case No. 19-CV-00290-EMC
11                Plaintiffs,
12
            v.
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     DEPARTMENT OF JUSTICE, et al.,
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15                Defendants.
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                        [PROPOSED] ORDER AS MODIFIED
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           Upon the consent motion filed by defendant Department of Homeland
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     Security, and good cause appearing, the Court hereby orders that the briefing
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     schedule for the parties’ cross-motions for summary judgment with respect to the
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     FOIA requests submitted to ICE, CBP, and USCIS is revised as follows:
22
           December 10, 2020: Defendant’s motion for summary judgment.
23
           January 22, 2021: Plaintiffs’ opposition and cross-motion.
24
           February 22, 2021: Defendant’s reply and opposition to cross-motion.
25
           March 8, 2021: Plaintiffs’ reply.
26
           March 22, 2021: Hearing on parties’ cross-motions.
27         March 25, 2021
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                                      [PROPOSED] ORDER
                                   CASE NO. 19-CV-00290-EMC
         Case 3:19-cv-00290-EMC Document 84 Filed 11/05/20 Page 2 of 2



1         IT IS SO ORDERED.
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3           November 4
     Dated: _____________, 2020
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5                                        Hon. Edward M. Chen
                                         United States District Judge
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                                     [PROPOSED] ORDER
                                  CASE NO. 19-CV-00290-EMC
